Pa.y Stub

 

N|XON,SARAH BETH
APT D

9082 TORCHLAMP LANE
ST LOU|S, MO 6312‘1

’l`..""l" l
023 .

HOURS AND EARN|NGS

CURRENT

lD NUMBER: OA35532606
BASE RATE: 11.69

Y -T-
. DESCR\PT\@N HOURS/UN\TS EARN|NGS HouRS/uNlTS EARN|NGS

Page 1 Of 1

FlSER\/ SOLUTK)NS, lwe CHECK NO z M@BOQ
2465 CENTER|_INE \ND DR CHECK DATE 1 12/19/2003
PER|OD END\NG l 12/19/2003
MARYLAND HE}GHTS,MO 63043 PAY FREQUENCY: Bl_WEEKLY
STATUS EXEMPT TAX ADJUSTMENTSZ STATE AND LOCAL CODES
FED: SINGLE 12 FED: ST: PR|: MO LOC1: LOCS:
ST1: S 6 Dl f UC:` _ _ SEC: LOCZ: |_OC4:
ST2: LOCAL: 1 LOCS:
IMPORTANT MESSAGE
TAXES AND DEDUCT\ONS SPECIAL INFORMAT\ON
D CURRENT Y - T - D

DESCR|PTION AMOUNT AMOUNT

 

 
 
  
 
 

REGULAR 3000 935.44 1,361.75 21,422.96 30 SEC TA)< 105.@2 2,106.15 W2GRP 1.99
EXCUSED l MED\cARE
ABSNC .00 .00 1.00 11.00 TAX 24.70 492.57
HOL|DAY .00 .00 56.00 643.73 FED me TA)< .00 650.33
FL/PERS HOL .00 .00 24.00 2@9.54 ::;STATE 64100 11018_00
vACATlON .00 .00 96.00 1,103.@5 ‘
PRloR vAc .00 .00 3.00 33.00
8ch *OU 00 32_00 374¢17 TOTAL TA)<ES 194.32 4,267.55
ovERTlME 43.75 767.35 574.25 9,370.@6
eeNuS SUP
W/H 00 .00 .00 163.32
TOTAL H/E 123.7“§. 1,702.79 2,653.00 33,952.04
PRE;-TA>< news AFTER-TA>< ITEMS cURRENT NET PAY '
mle * _1_24 _31_75 36 msTRseuTlON
c 003540429693 1,506.37
TOTAL PRE-TAX -1.24 -31.75 CHECK AMOUNT 'OO_ .
TOTAL 123.75 1,701.55 2,@53.00 33,920.29 TOTAL PER DED .Be 22.3@ _
GROSS PRE-TA>< FlT TA><ABLE LESS TA><ES miss DEDS EQ NET PAY
cuRRENT 1,702.79 -1_.24 1,701.55 194.32 .36 1,50@.37 TOTAL CURRENT NET
Y-T-D 33,952.04 -31:.75 33,920.29 4,267.56 22.36 1’506'37

29,630.37 PAY

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Pay Stub

 

MARYLAND HE|GHTS,MO 63043

NlXON,SARAH BETH 10 NUMBER: QA35532606 STATUS EXEMPT TAX ADJUSTMENTS:
APT D BASE RATE.: 1169 FED: SlNGLE 12 FED: ST:
9082 TORCHLAMP LANE SSN: sT1: S 6 01 / uc:
sT Louzs, Mo 63121 ST2: LOCAL:
IMPORTANT MESSAGE
HOURS AND EARN\NGS TAXES AND DEDUCT\ONS
cuRRENT ¥ -T - D cuRRENT Y -T - D

DESCR|F’TION HOURS/UN[TS EARNINGS HOURS/UN|TS EARN!NGS DESCR|PT|ON AMOUNT AMOUNT

Page 1 of 1

FlSERv SOLUT\ONS, lch CHECK NO `~` A15331
2465 cENTERLINE IND DR CHECK DATE : 1/2/2009
PERIOD END\NG ; 12/27/2003

PAY FREQUENCY: B|-WEEK|_Y

STATE AND LOCAL CODES

PRl: MO LOC‘l: LOC3:
SEC: LOCZ: L004:
LOCS:

SPEC\AL |NFORMAT|ON

  
     

REGULAR 72.00 841.90 72.00 841.90 30 SEC TAX 130.31 130.31
HOLlDAY 8.00 93.54 3.00 93.54 ¥§QlCARE 301 48 3048
FL/PERS HOL .00 .00 .00 .00
VACAT|ON _00 _00 100 I00 FED lNC TAX 32.39 32.39
sch .00 .00 .00 .00 _F;:)';STATE 0000 0000
ovERT\ME 66.50 1 1,166.33 66.50 1,166.33
TOTAL TA)<ES 279.18 279.13
TOTAL H/E 146.50 2,101.32 146.50 2,101.32
PRE-TAX \TEMS _ AFTER-TA)< \TEMS cuRRENT NET PA¥
ESL\F 2.77 2.77 D‘STR‘BUT'ON
c 003540429693 1,319.37
CHECK AMOUNT .00
TOTAL 146.50 2,101.32 146.50 2,101.32 TOTAL PER DED 2.77 2.77 _
GROSS PRE-TA>< -FlT TA><ABLE 1533 TA><ES LESS mens 50 NET PAY
cuRRENT 2,101.32 .00 2,101.32 279.13 2.77 1,319.37 f TOTAL CURRENT NET
Y-T-D 2,101.32 .00 2,101.32 279.13 2.77 1,819.37 PAY 1’319'37

  

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FlSERv 30LUTION3, INC CHECK NO z Mmz
2435 cENTERuNE 1110 DR CHECK DATE: 1/16/2009

PERloD ENDlNe : 111 312003
MARY'~AND HE'GHTS’MO 53043 PAY FREOUENCY; BI-Wr-;EKLY

       

.NIXON,SARAH BETH lr) NUMBER: QA35532306 3TAT113 EXEMPT TA)< ADJUSTMENTS; STATE AND LOCAL cODES
APT r) BASE R_ATE: 1139 FED: 31NGLE 12 FED; 3T: PR|; Mo 1001: 1_01:3:
9032 TORCHLAMP LANE 33N: 311: 3 3 1311 uc: SEC: Lr_)cz: Loc4;

ST LOU|S, MO 63121 ST2: LOCAL: LOCSZ

IMPORTANT MESSAGE

HOUR3 AND EARr 111\1<33 TA><E3 AND DEDUCT|ON3 3PEC\AL lNFORMATION
CURRENT _ Y - T - D cuRRENT Y - 'r - D
DESCRIPTloN HouRS/uNITS EARN|NG‘S HOURS/uNITS EARN1N33 DESCRIPT|©N AMOUNT AMOUNT

REGULAR 72.00 841.9'10 144.00 1,683.80 SO SEC TAX 118.63 '- _248.94

HOLID f" ` `

AY 8.00 93.\:15 16.00 187.09 MED|CARE 2714 58‘22
FL/PERS HOL .00_ .00 .00 .00 TAX .:

VACAT|ON 100 00 00 l00 FED lNC TAX 12.67 . 45.06
S|CK .00 .00 .00 .00 ::;STATE 75_00 'f`. 152_00
OVERTI ME 55.75 977.82 122.25 2,144.20

-- TOTAL TAXES 235.04 514.22
TOTAL H/E 135,75 1 ,313.27 232.25 4,015.03

     
      
   

    
 
 

  

` PRE-TA x lrEM3 AFTER-TA)< 1131\13>"`- ' `cuRRENT NET PAY‘
277 554 0131R1BUT\0N
C 003540429393 1,375.43
CHECK AMOUNT .00

   

TOTAL 135-75 1,313~.27 232.25 4,015.09 TOTAL PER DED 2.77 5.54 _

GRO$"";,O' PRE-TA>< r=\r TA><ABLE 1533 TAXE3 LE33 DED3 EQ NET F=AY

CURRENT 1 ~ 111-327 .00 1,313.27 235.04 2.77 1,375.43 TOTAL CURRENT NET
Y-T-D -' _ 4,3 39 .00 4,015.09 514.22 354 3,435.33 PAY

  
  
  

1,675.46

 

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51353\/ 30LUT10N3, 1N0 CHECK NO 1 AWZZ
2435 051\1151111115 1110 01=1 011501< 0015; 1130/2003

PER|OD END|NG : 1/30/2009

 

MARYLAND HE'GHTS’MO 53043 PAY FREQuENCY; 31-W551<LY
N1X0N,3ARAH 05111 10 NUMBER; 0A35332303 srArus 5)<511151 TA)< A010311115N13: 311-115 A1~10 100/11 00053
APT 0 BA35 RATE: 1139 550; 311~101_5 12 550: sr: PR1: 1110 1001: 1003:
903210ROHLAMP LANE 33N; 311: 3 3 01/110: 350 1002: L001:
3T 10013, 100 33121 _ 312: LOCAL: 1005:
IMPORTANT 111533¢105
HOURs AND 5ARN1N03 TA><53 1010 0501101101\13 35501¢11 1NF0R111AT10N
CURRENT Y-T - 0 cuRRENT Y -T - 0

DESCR|PT|ON HOURS/UNITS EARNINGS HOURS/UN|TS EARN|NGS DESCR\PT|ON AMOUNT AMOUNT

REGULAR 00.00 335.44 224.00 2,313.24 30 350 TAX 127.32 373.23
H0110AY _.00 .0-0 1300 107.03 ;A§)r<nchRE 2978 BB_OO
51_/55Rs 1101_ l .00 .00 .00 .00
VACAT,ON 00 00 _00 _OO 550 1010 TAX 23.70 71.73
S|CK .00 .00 .00 .00 ::;STATE 31_()0 243_00
0v5RT1M5 33.75 1,113.11 103.00 3,232.34
T0TAL TAX53 234.30 770.02
TOTAL H/5 143.75 2,053.50 423.00 3,033.37 l
PRE~TA>< 1150/13 AFTER-TA>< lrEM3 00515151\11 1151 r->AY
' 53111-' 2.77 031 D'STR‘BUT'ON
0 003540423330 1,703.01
_ . 0H501< AMOUNT 1 .00
TOTAL 143.75 2,053.53 423.00 3,030.37 TOTA1_ 551=1 050 2.77 0.31!
01=1033 PRE-TA)< 511 TA)<ABLE 5533 TA)<53 1533 0503 50 1151 PAY
CURRENT 2,053.50 l00 2,053.50- 234.00 2.77 1,703.01 " TOTAL CURRENT NET 1
Y-fr-0 3,030.37 .00 3,033.37 773.02 331 5,201.31 PAY ’736'01

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